Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 1 of 142 PageID #: 408




                                    In Re:
                            JAUSTON HUERTA, et al. vs
                               GREG EWING, et al.




                           GREGORY T. EWING, Sheriff
                                April 27, 2018




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Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 2 of 142 PageID #: 409
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 3 of 142 PageID #: 410
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 4 of 142 PageID #: 411
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 5 of 142 PageID #: 412
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 6 of 142 PageID #: 413
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 7 of 142 PageID #: 414
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 8 of 142 PageID #: 415
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 9 of 142 PageID #: 416
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 10 of 142 PageID #:
                                     417
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 11 of 142 PageID #:
                                     418
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 12 of 142 PageID #:
                                     419
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 13 of 142 PageID #:
                                     420
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 14 of 142 PageID #:
                                     421
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 15 of 142 PageID #:
                                     422
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 16 of 142 PageID #:
                                     423
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 17 of 142 PageID #:
                                     424
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 18 of 142 PageID #:
                                     425
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 19 of 142 PageID #:
                                     426
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 20 of 142 PageID #:
                                     427
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 21 of 142 PageID #:
                                     428
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 22 of 142 PageID #:
                                     429
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 23 of 142 PageID #:
                                     430
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 24 of 142 PageID #:
                                     431
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 25 of 142 PageID #:
                                     432
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 26 of 142 PageID #:
                                     433
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 27 of 142 PageID #:
                                     434
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 28 of 142 PageID #:
                                     435
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 29 of 142 PageID #:
                                     436
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 30 of 142 PageID #:
                                     437
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 31 of 142 PageID #:
                                     438
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 32 of 142 PageID #:
                                     439
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 33 of 142 PageID #:
                                     440
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 34 of 142 PageID #:
                                     441
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 35 of 142 PageID #:
                                     442
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 36 of 142 PageID #:
                                     443
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 37 of 142 PageID #:
                                     444
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 38 of 142 PageID #:
                                     445
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 39 of 142 PageID #:
                                     446
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 40 of 142 PageID #:
                                     447
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 41 of 142 PageID #:
                                     448
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 42 of 142 PageID #:
                                     449
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 43 of 142 PageID #:
                                     450
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 44 of 142 PageID #:
                                     451
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 45 of 142 PageID #:
                                     452
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 46 of 142 PageID #:
                                     453
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 47 of 142 PageID #:
                                     454
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 48 of 142 PageID #:
                                     455
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 49 of 142 PageID #:
                                     456
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 50 of 142 PageID #:
                                     457
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 51 of 142 PageID #:
                                     458
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 52 of 142 PageID #:
                                     459
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 53 of 142 PageID #:
                                     460
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 54 of 142 PageID #:
                                     461
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 55 of 142 PageID #:
                                     462
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 56 of 142 PageID #:
                                     463
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 57 of 142 PageID #:
                                     464
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 58 of 142 PageID #:
                                     465
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 59 of 142 PageID #:
                                     466
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 60 of 142 PageID #:
                                     467
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 61 of 142 PageID #:
                                     468
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 62 of 142 PageID #:
                                     469
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 63 of 142 PageID #:
                                     470
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 64 of 142 PageID #:
                                     471
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 65 of 142 PageID #:
                                     472
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 66 of 142 PageID #:
                                     473
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 67 of 142 PageID #:
                                     474
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 68 of 142 PageID #:
                                     475
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 69 of 142 PageID #:
                                     476
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 70 of 142 PageID #:
                                     477
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 71 of 142 PageID #:
                                     478
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 72 of 142 PageID #:
                                     479
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 73 of 142 PageID #:
                                     480
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 74 of 142 PageID #:
                                     481
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 75 of 142 PageID #:
                                     482
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 76 of 142 PageID #:
                                     483
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 77 of 142 PageID #:
                                     484
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 78 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          485                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                             April 27, 2018

                           across (1)                   44:5;45:7,10;52:15,    approve (1)
             #                12:18                     18,22;54:1,4,7;59:7,     30:24                            B
                           act (2)                      20,22;65:15;66:8,9;    April (1)
   #2 (2)                     54:11,14                  68:4,7;73:6,7            19:9                   back (18)
      43:16;52:12          actual  (2)               agreed (4)                architect (1)              12:10;15:20;20:15;
   #3 (1)                     44:14;50:21               6:23;39:21;40:7;         71:4                     21:13;22:1,6;28:9;
      4:14                 actually (17)                58:23                  area (26)                  29:2,5,5;36:21;52:12;
   #4 (1)                     5:15;6:20;15:11;       agreement (3)               6:2;7:3;8:22;10:6,       54:8;63:25;69:4;71:4;
      8:7                     19:16;24:4;31:20;         39:20;58:23;73:11        19;11:24;12:15;          73:2,10
   #5 (1)                     38:17;43:3,17;44:15;   ahold (1)                   13:17;26:13;27:12,     backing (1)
      19:5                    49:18;51:3;63:20;         70:1                     13,21;36:20;39:4,23;     71:8
   #6 (3)                     69:24;70:15,25;72:1    air (3)                     41:11,12,14;56:8;      bad (1)
      19:10,15;68:20       acute (1)                    47:25;48:2,8             64:13,22;67:25;69:6;     16:13
   #7 (8)                     62:8                   alarm (1)                   70:2;72:24,24          bars (1)
      29:18;31:20;32:5,    add  (4)                     70:20                  areas (8)                  10:8
      11,13;34:23;62:16;      11:1;30:23;33:2;       alert (2)                   14:13;35:14;37:2;      based (2)
      73:2                    49:20                     56:19,22                 39:9;47:17;57:25;        34:5;71:19
   #8 (1)                  added   (1)               alerted (1)                 59:2;70:14             basically (5)
      30:10                   36:13                     67:4                   around (4)                 6:1;26:16;27:23;
                           Adding (1)                alerting (1)                6:21;19:19;24:16;        31:11;61:21
               $              33:17                     56:18                    72:5                   basis (6)
                           addition (2)              alleged (1)               arrange (1)                12:3;51:5;64:12;
   $35 (1)                    37:13;69:2                17:9                     73:11                    65:19,20;66:22
      21:2                 additional   (1)          almost (5)                arrangements (1)         bathroom (3)
   $45 (1)                    33:14                     6:18;37:5;42:12;         18:25                    27:6,19;68:17
      21:3                 addressing (1)               45:21;73:5             articulated (1)          B-Block (1)
                              23:4                   almost-I (1)                46:21                    23:25
               A           adds  (1)                    51:7                   aside (1)                bearing (1)
                              11:3                   along (2)                   70:20                    57:20
   a- (1)                  adequately (1)               10:8;62:6              assessment (1)           beaten (1)
      11:10                   36:12                  always (1)                  60:15                    56:2
   ability (4)             administrative    (4)        18:19                  assigned (4)             becomes (2)
      15:19;23:23;58:17;      14:25;15:2,7,8         Amended (2)                 12:2;25:9;29:9;          18:15;61:23
      70:5                 admitting (1)                67:14,17                 64:13                  bed (4)
   able (8)                   73:20                  among (3)                 assisted (1)               14:10;25:10,14;
      15:12,23;36:11;      adult  (1)                   19:5;47:8;53:2           17:2                     28:9
      40:8;56:17,20;70:25;    69:4                   amount (1)                Association (1)          beds (18)
      71:10                advertenly (1)               18:19                    30:3                     7:13,24;8:2,9;9:13;
   A-Block (1)                57:6                   amounts (1)               assume (17)                11:1,2,6;12:1,1,2,6;
      9:8                  affect (1)                   45:14                    3:23;11:7,16;16:20;      20:17;23:18,25;
   above (2)                  51:18                  analysis (5)                17:11;26:20;28:1,13,     24:16;44:9;60:6
      17:25;18:8           affirmative   (4)            29:20;30:5;32:8;         17,19;34:18;40:16,     begin (1)
   Absolutely (10)            10:5;11:8;36:10;          35:9;62:17               24;48:21;50:14;          48:13
      9:17;13:23;20:21;       45:6                   and- (2)                    59:20;67:13            beginning (2)
      37:4;39:1,3;42:8,11; afforded   (1)               47:3;58:13             attention (3)              35:25;52:14
      52:22;62:4              41:18                  and/or (1)                  56:11;67:2,10          begins (1)
   abuse (1)               again (4)                    17:16                  Attorney (5)               37:6
      22:12                   7:22;35:19;40:21;      and-Where (1)               3:8;30:11;40:15;       behind (3)
   access (2)                 51:16                     20:5                     62:15;72:5               46:4,4;71:11
      27:18;71:9           agent (1)                 Annex (1)                 attribute (3)            beings (2)
   accommodate (2)            21:6                      48:25                    22:8;42:3;51:23          19:16;21:19
      28:7;41:7            aggressive   (1)          annual (2)                audio (10)               belong (1)
   account (2)                22:6                      7:9,12                   12:20,22;13:2,3,4,6,     14:9
      44:24;49:12          aggressively (2)          antiquated (1)              17;38:15;53:3;69:20    bend (1)
   accurate (1)               54:11,15                  46:2                   available (3)              71:11
      8:12                 agitation  (1)            apparently (1)              44:21;64:2;69:14       benefit (1)
   ACLU (1)                   42:2                      70:11                  average (1)                39:17
      3:7                  ago (2)                   appear (2)                  44:21                  best (3)
   Acosta (6)                 8:8;16:4                  71:19;73:2             aware (4)                  18:17;52:18;55:2
      5:3;6:22;7:15;       agree  (31)               appointed (2)               58:22;66:25;67:20;     better (4)
      39:21;40:2;58:22        12:8;13:19,20,20,         4:7,9                    73:18                    37:20;43:12;48:8;
   acoustical (1)             23;14:3;32:8;37:1;     appropriately (1)         away (2)                   65:12
      70:24                   39:9,14;41:20;43:6;       14:9                     44:18;52:9             beyond (1)

  Min-U-Script®                               SWIFT REPORTING SERVICE                                           (1) #2 - beyond
                                             Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 79 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          486                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                           April 27, 2018

      47:5                   budgetary (1)             52:15                     38:24                complained (1)
   big (2)                     31:21                 Care (8)                 checks (5)                46:17
      61:15;64:24            building (6)              50:12,23;51:1,4,15,       36:9,12,17,19;64:5   complaining (1)
   bigger (1)                  5:15,16;6:6;43:4;       19;58:18;63:7          chef (1)                  34:11
      28:7                     59:15,24              case (8)                    49:19                Complaint (5)
   Bill (2)                  built (7)                 6:22;35:6,16;37:9,     chief (1)                 67:13,14,14,17,18
      22:18;29:20              4:24;43:2;48:21,23;     11;58:22;67:15,18         4:10                 completely (1)
   Bill's (1)                  60:4,18;62:6          catacomb (1)             child (2)                 49:9
      29:23                  bulldozer (1)             51:24                     14:20;17:23          complies (1)
   bit (4)                     61:12                 category (1)             choose (1)                36:2
      4:22;16:21;28:13;      bunk (4)                  69:9                      68:5                 concern (1)
      37:16                    67:22;68:9,10;71:1    cause (2)                chronic (1)               46:20
   bit- (1)                  bunked (1)                49:3;57:10                25:4                 concerns (1)
      22:3                     44:10                 caused (4)               claiming (1)              47:25
   blend (1)                 bunks (3)                 41:21;53:23;54:2,5        56:2                 conclusions (1)
      17:19                    9:7,19;10:1           causes (2)               clarify (1)               60:21
   Block (10)                burdened (1)              28:13;35:3                13:13                condition (1)
      23:18,20;24:2,4;         22:13                 ceiling (2)              Class (3)                 73:8
     25:9;41:5,6,7,8;44:13   burn (1)                  70:21,23                  3:8;6:11;14:19       conditions (4)
   blocks (8)                  41:23                 cell (24)                classes (1)               52:21;66:2,4,7
      6:20;8:9,14,15;9:8;    business (1)              7:20;9:7,13;10:6;         22:20                conduct (1)
      23:10,10,22              62:22                   13:4;26:23;27:11,14,   classification (9)        35:12
   boat (17)                 buy (1)                   16,17,18;28:5;35:13;      14:12,14;17:18;      confinement (1)
      25:15,18,22;27:11,       46:7                    39:10,23;56:17;59:2;      18:1,9;24:19;25:7;     52:24
      23,23,23,25;28:7,12,                             67:25;68:18;69:6,13,      35:2;70:19           connecting (1)
      14;67:21;68:2,5,6,8,             C               13;70:3,14             classify (6)              13:16
      14                                             cells (27)                  14:8,11;15:13;       considering (1)
   boats (5)                 call (1)                  6:1;9:1,4,19;10:17;       23:13;24:20;53:24      61:16
      26:3,7;27:13,22;         8:19                    11:20,21;12:12;13:5;   classifying (1)         consistency (1)
      47:11                  call! (1)                 14:24;26:10,10;           17:13                  9:7
   boat-to (2)                 14:17                   27:15;28:6,9;38:20,    clear (2)               constant (1)
      27:24,25               called (2)                21;44:14;46:6,10,13;      12:25;69:18            42:21
   booking (8)                 5:3;36:14               49:1;59:1;69:20;       close (1)               constantly (2)
      8:22;11:24;12:15,      calls (2)                 71:10;72:14,15            68:14                  42:21,22
      19;13:3,6,16;21:6        25:15;30:18           Center (2)               closely (1)             constructed (1)
   both (7)                  calmer (1)                51:6;63:11                15:15                  71:17
      15:2;39:7;47:22,23;      42:4                  central (1)              co-defendants (1)       construction (2)
      52:19;53:15,18         came (3)                  6:17                      16:17                  5:14;44:8
   bothered (2)                64:1,20,21            certain (3)              Coincidentally (1)      consult (2)
      70:6,8                 camera (1)                46:22;47:17;48:22         23:20                  7:4;64:10
   bottom (2)                  69:19                 certainly (2)            Combi (2)               consuming (1)
      45:4;68:9              cameras (3)               44:25;52:3                46:12,15               21:10
   break (1)                   38:8,11,21            certified (1)            comfort (1)             contagious (3)
      70:23                  can (30)                  73:17                     47:21                  72:9,11,13
   breakdown (2)               6:19,21;7:18;10:21;   Certify (2)              coming (5)              CONTINUES (4)
      14:14;32:10              15:11,15;18:8;22:8;     74:2,9                    49:10;58:2;65:25;      10:24;13:12;31:8;
   breaking (2)                24:8,25;37:17,20;     cetera (2)                  66:18;71:23            73:15
      42:21;50:2               38:17,20,22;42:3;       23:3;32:3              Commander (2)           contribute (1)
   breaks (2)                  48:8;50:19,22;53:9;   chain (1)                   20:7,8                 43:4
      49:24;50:7               57:2,10;58:1;59:18;     29:15                  comment (1)             contributed (1)
   BRIEFLY (4)                 62:11;64:9;66:12;     chair (2)                   61:10                  57:2
      10:23;13:11;31:7;        69:24;70:1,10           65:3,10                commissary (1)          contributes (1)
      73:14                  Canteen (2)             change (3)                  49:11                  37:3
   bring (1)                   48:18,20                22:14,17;31:1          Commissioner (1)        control (2)
      24:4                   cap (1)                 changed (3)                 43:20                  6:17;35:15
   broke (1)                   40:2                    30:21;63:4;64:16       Commissioners (3)       controversy (1)
      32:19                  capacities (1)          changes (1)                 34:21;60:3,9           28:13
   brought (4)                 4:23                    25:2                   common (3)              conversely (1)
      5:2;63:8;67:2,9        capacity (8)            Charlie (2)                 16:10,25;72:2          42:9
   bucket (1)                  6:24;8:3;13:22;         20:6,7                 communication (1)       conversion (1)
      32:25                    37:24;44:21;45:1;     chase (1)                   69:20                  43:7
   budget (1)                  49:1;59:8               71:12                  company (1)             converting (1)
      30:20                  capacity- (1)           check (1)                   48:18                  5:15

  Min-U-Script®                                SWIFT REPORTING SERVICE                                    (2) big - converting
                                              Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 80 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          487                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                            April 27, 2018

   corners (1)               14:19;24:7              24:8;28:6;57:23           disabilities (1)          14;29:25;32:19;
     10:1                  cycle (2)              depends (1)                    15:17                   38:18;42:21;43:4;
   Corporation (2)           55:6;66:22              29:15                     disabled (1)              50:3;57:20,24;58:1
     60:5;62:23                                   DEPONENT (1)                   24:24                 Dr (5)
   correctional (5)                   D              74:18                     disagree (1)              60:10,25;61:1,10,
     13:19;48:20;50:12;                           deposed (1)                    65:7                    22
     51:4;63:7             D-9 (1)                   3:14                      disaster (1)            drill (1)
   Corrections (1)           61:12                deposes (1)                    57:23                   3:17
     30:7                  daily (1)                 3:4                       disciplinary (4)        drink (1)
   correlation (1)           66:22                deposition (6)                 11:20;15:3,5,24         68:17
     42:5                  dang (1)                  3:18;4:17,19;40:5,        discovery (1)           drug (2)
   Council (9)               36:16                   6;59:13                     16:4                    17:2;22:12
     30:24;31:14;34:3,     dangerous (1)          deputies (1)                 discuss (1)             due (1)
     20,22;42:19;46:18;      16:24                   28:22                       23:4                    52:23
     60:2,9                date (1)               deputy (2)                   discussed (4)           duly (1)
   counsel (1)               19:17                   4:8;65:12                   17:18;59:5;60:1,20      3:2
     61:19                 daunting (1)           describe (2)                 disease (2)             during (4)
   count (3)                 21:10                   6:13,14                     72:11,13                26:23;28:8;51:9;
     23:16;44:21;68:21     day (28)               described (2)                diseases (1)              72:22
   counted (1)               6:2;10:4,19;18:24;      5:22;26:15                  72:10
     12:7                    19:6;20:13,19;25:12; design (9)                   dishwasher (1)                    E
   counter (2)               26:2,15,23;27:7,12,     6:15;9:9;38:11;             50:7
     13:3,6                  13;28:8,15;39:11;       43:9;47:5;51:22;          dispensed (4)           early (1)
   counters (1)              44:22;45:1,22;49:8;     58:15;70:11;73:7            65:18,19,23;66:21        22:6
     12:19                   51:9;63:21,23,25;    designate (1)                dispensing (1)          easier (1)
   counties (2)              64:1,3;70:2             4:18                        51:24                    25:5
     20:25;21:1            days (1)               designed (4)                 dispute (1)             easiest (1)
   County (21)               22:7                    38:22;43:10;44:9,           44:7                     23:15
     3:11;5:18;19:1;       daytime (1)               15                        disputes (1)            easy (1)
     20:3,11,22,23;21:3,     52:8                 designee (1)                   28:17                    23:21
     20;22:24,25;23:2;     deal (1)                  4:19                      disrupted (2)           efficient (2)
     29:25;30:18;35:10;      18:14                despite (4)                    50:1,5                   58:21;62:10
     42:18;43:17;45:14;    dealing (3)               18:17,24;23:7;            DLZ (2)                 efforts (3)
     59:23;60:16;71:3        17:6;40:25;55:5         52:18                       60:5;61:5                18:18;23:7;52:19
   couple (1)              dedicated (4)          deterioration (1)            DLZ's (1)               eight (2)
     10:1                    64:17,21;71:21;         45:9                        61:3                     4:11;10:2
   Court (2)                 72:6                 deterioration-advanced (1)   doctor (1)              either (3)
     29:11;69:4            deemed (1)                45:8                        63:23                    24:24;44:1,4
   Courthouse (1)            55:17                develop (1)                  doctor's (1)            elaborating (1)
     29:9                  Defenders (1)             43:1                        52:6                     22:2
   covered (1)               72:1                 D-Felony (1)                 document (2)            elected (1)
     68:12                 deficiencies (4)          22:21                       4:15;55:12               4:11
   cramped (2)               35:3;36:23;37:2;     difference (1)               documents (2)           electrical (1)
     49:9;53:16              45:11                   7:16                        5:9;19:12                45:12
   crime (3)               deficiency (3)         different (8)                dollars (1)             else (1)
     14:18;17:8;22:5         35:21;36:25;37:3        9:4;12:12;15:23;            20:13                    58:16
   criminal (1)            definitely (1)            21:25;49:20;50:1;         done (3)                emails (1)
     60:15                   48:15                   52:5;62:18                  29:20;34:6;68:22         19:7
   crisis (2)              delay (2)              difficult (6)                doors (3)               emergencies (1)
     22:10;61:14             52:1,4                  18:16;40:25;41:3;           26:23;38:23;57:25        56:12
   crowded (4)             delayed (1)               55:6;56:12,14             dormitories (2)         emergency (2)
     28:1;41:9;54:14,25      49:15                difficulty (1)                 9:2,3                    52:3;57:19
   cubic (1)               delays (1)                35:2                      double (3)              emergent (2)
     48:5                    51:14                DIRECT (7)                     18:3,4;44:10             52:7,7
   current (10)            delivering (1)            3:6;10:24;13:12;          double-bunked (1)       emotional (1)
     19:16;28:20;30:14;      49:13                   31:8;42:5;62:14;            48:24                    57:11
     32:20;35:9;37:14;     demand (1)                73:15                     doubled (4)             employees (1)
     52:21;60:8;61:10;       44:20                direction (1)                  44:18;49:1;58:11;        30:19
     74:3                  Department (1)            58:2                        73:5                  end (2)
   currently (4)             20:18                directly (1)                 doubling (1)               13:7;68:17
     20:2;30:2;31:23;      depend (1)                34:19                       49:7                  enforcement (1)
     53:19                   56:16                Director (1)                 down (14)                  4:4
   custody (2)             depending (3)             3:7                         20:20;24:1;28:9,12,   engage (1)

  Min-U-Script®                               SWIFT REPORTING SERVICE                                     (3) corners - engage
                                             Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 81 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          488                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                               April 27, 2018

      39:12                    54:25;55:25;71:19         53:20                     28:23;31:24          guy (1)
   enormous (1)              expertise (1)            figure (8)                foundered (1)             51:4
      45:14                    7:7                       13:24,24;18:6,7,8,        60:8                 guy! (1)
   enough (7)                experts (1)                 20;33:5;44:25          four (6)                  34:11
      21:14;27:21,22;          13:19                  figures (1)                  9:5,7,19,25;23:18,
      41:1;46:17;48:2;       extensively (1)             32:18                     19                              H
      57:14                    60:25                  filled (1)                four-man (1)
   enter (1)                 extent (2)                  14:10                     69:13                hall (2)
      55:6                     57:9;66:11             final (3)                 fourth (1)                6:3,4
   entire (1)                extreme (2)                 37:5,5;60:22              40:6                 hallway (4)
      63:15                    17:15,17               finally (1)               frequently (6)            12:18;65:4,11;72:2
   especially (4)            extremely (1)               37:12                     5:8;17:11;28:8;      Hamilton (2)
      39:10,15;48:1;           24:20                  find (3)                     38:25;51:9;56:1        51:6;63:11
      71:20                  eye (1)                     21:6;71:16;72:12       FRIEDRICH (6)           handed (1)
   estimated (1)               60:16                  finding (1)                  12:25;73:12,24;        43:25
      32:16                                              15:9                      74:8,11,13           happen (2)
   et (2)                              F              fine (1)                  front (1)                 16:13;72:6
      23:3;32:3                                          34:2                      9:11                 happened (3)
   evacuate (1)              facility (8)             finished (1)              frontage (1)              56:6,7;67:6
      57:21                     42:4;45:7,20;58:21;      74:11                     38:23                happening (1)
   evaluate (1)                 59:24;61:11;63:21;    fire (1)                  full-time (3)             59:6
      11:13                     73:8                     57:19                     21:9;31:1;33:18      happens (5)
   evaluation- (1)           fact (7)                 first (6)                 function (1)              16:20,21;17:11;
      45:4                      18:24;43:2;60:2;         3:2;4:9;32:5;44:7,        72:15                  25:12;50:17
   Even (10)                    65:9;68:12;71:3,9        13;67:13               functions (1)           hard (1)
      35:18;40:24;43:12;     facts (1)                fit (1)                      74:4                   22:11
      46:8;59:7;62:2,22;        44:6                     27:13                  funded (1)              Harris (2)
      64:1,7;68:13           fair (7)                 fits (1)                     60:9                   5:3;6:22
   events (1)                   18:17;21:18;41:16;       25:19                  funding (1)             head (4)
      15:9                      64:5,9;65:2;69:1      five (1)                     30:23                  29:24;48:7;67:12,
   everybody (1)             FALK (13)                   16:17                  Funk (1)                  23
      11:25                     3:7,16,21;9:21;       flat (1)                     65:12                Health (11)
   everyone (2)                 10:21,24;13:9,12;        31:2                   FURTHER (1)               36:9,12;51:1,2;
      18:10,12                  31:5,8;68:12,20;      floodgates (1)               74:18                  62:25;63:5,8;65:2,6,
   EWING (3)                    74:12                    58:13                  fuzzy (1)                 17;66:1
      3:1,10;74:21           fall (2)                 floor (7)                    61:24                healthcare (1)
   EXAMINATION (6)              40:14;57:17              6:10;25:21,25;                                   50:10
      3:6;10:24;13:12;       falls (1)                   27:11;57:3;67:21;                G             hear (1)
      31:8;62:14;73:15          36:21                    68:13                                            67:16
   example (3)               far (4)                  floors (7)                gave (1)                heard (4)
      23:14,17;49:21            29:10;33:23;52:11;       6:5,8,10;45:23,25;       8:8                     13:25;56:1;61:25,
   exceeded (1)                 61:16                    47:11;57:16            gender (2)                25
      44:20                  fashion (2)              following (1)               14:16,18              heard-I (1)
   exception (1)                73:21;74:5               51:16                  General (2)               61:20
      11:2                   F-Block (1)              follows (1)                 7:2;70:2              hearing (1)
   exchange (1)                 23:20                    3:5                    generally (1)             15:11
      47:25                  feel (1)                 food (5)                    26:24                 heating (1)
   exercise (2)                 48:8                     48:17;49:13,15,21,     get-go (1)                72:22
      39:13;57:10            feet (1)                    25                       44:12                 heavier (1)
   Exhibit (19)                 48:5                  force (1)                 gets (1)                  71:6
      4:14;8:7;19:5,10,      fell (2)                    17:2                     13:21                 held (2)
      13,15;23:9;29:18;         56:3;67:22            Form (3)                  given (4)                 5:18;16:7
      30:10;31:20;32:5,10,   Felony (1)                  30:18;31:16;35:8         25:14;30:11;37:7;     help (2)
      13;34:23;43:16;           22:22                 formal (1)                  67:1                    49:20;69:25
      52:12;62:16;68:20;     female (8)                  60:2                   goes (2)                helped (1)
      73:2                      20:1,1;21:15;22:7;    formerly (1)                50:20;57:13             35:19
   existence (1)                23:16,20;69:2;70:14      29:24                  Good (5)                highest (1)
      32:12                  females (5)              forth (8)                   8:14;14:17;36:15;       17:20
   existing (2)                 23:15,19,23;24:1,5       14:20,25;15:20;          48:2;55:5             himself (1)
      5:5;59:17              few (2)                     20:15;29:2,5,5;51:24   Greg (1)                  65:9
   expansion (1)                20:5,5                forty (1)                   12:25                 hiring (1)
      5:5                    fights (5)                  42:12                  GREGORY (3)               37:19
   experience (3)               42:3,7,9;52:25;       forty-five (2)              3:1,10;74:21          history (3)

  Min-U-Script®                                SWIFT REPORTING SERVICE                                   (4) enormous - history
                                              Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 82 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          489                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                            April 27, 2018

      16:23,25;17:6           23:12;53:24;54:2;       65:16;66:7,25;68:4;   it's- (1)                     69:7
   hit (1)                    55:22                   70:4;71:16               9:14                    keeping (1)
      67:22                inadequate (1)          inmate's (1)                                           42:16
   hold (2)                   72:23                   67:5                              J              Ken (1)
      21:4;36:16           Inadvertently (1)       inside (4)                                             74:11
   honest (1)                 57:6                    22:23;41:25;50:19;    jail (111)                 KENNETH (2)
      33:24                inappropriate (2)          71:9                     4:6,23,24;5:6,16,          3:7;7:1
   honor (2)                  55:7,18              Inspector (3)              23;6:7,8,24;7:5,12,24;   kept (3)
      66:10,14             incarcerate (1)            7:2,6;46:21              8:10,25;13:20;14:3,3,      27:18;62:22;69:6
   hopefully (1)              21:20                instance (1)                22;16:5,6;17:3,9;       killed-at (1)
      17:21                incident (1)               16:16                    18:18,25;19:8,17,23,       17:16
   Hosp (2)                   55:10                instead (1)                 24;20:7,8,9,10,10;      kind (7)
      11:6,6               include (4)                25:14                    21:5,19,21;23:6;26:3,      22:2,9,19;41:24;
   Hospital (11)              20:14;29:1,8;32:22   Institute (1)               9;28:21;29:13;30:5,        45:18;46:7;61:23
      8:20;11:3,9,17;      included (1)               30:6                     14,25;31:24;32:1,13;    kiosk (2)
      12:24;13:13,13;         33:4                 instruct (1)                33:6;34:25;35:10,12,       50:19;52:9
      24:10,11;72:14,15    includes (1)               73:25                    15;37:8,14,17,18,25;    kitchen (7)
   hour (4)                   32:1                 instructing (1)             38:4;39:5;40:3,8;          48:16,17,21,23;
      33:1;50:23,25;       including (1)              73:22                    42:12,16,24;43:3,10;       49:4,5,10
      63:15                   39:24                instructions (1)            44:8,12;46:21;48:12;    kite (1)
   hours (7)               increase (1)               69:25                    49:1;50:24;51:8,17;        50:14
      35:12;39:23;40:9;       40:13                intensive (2)               52:21;53:20;54:14;      knowing (1)
      59:2,5;63:14,21      increased (1)              38:2,3                   55:11,22;57:1,16,20;       56:6
   house (5)                  51:13                interaction (2)             58:15,24;59:15,21;      knowledge (1)
      18:25;22:18;24:23;   increases (2)              55:13,16                 60:4,17,18;61:13;          67:8
      58:24;69:3              53:12;54:20          interactions (4)            62:2,3,5,17;63:22,23;   Knox (1)
   housed (1)              increasing (2)             54:19;55:7,7,13          64:11,13,14;65:25;         20:4
      6:7                     21:21;23:6           intercom (4)                66:10;68:24;70:5,6,
   housing (2)             Indiana (4)                38:16;56:22;69:21;       11;71:20,21;73:3,4,               L
      22:15;24:13             3:8;21:12;22:14;        70:3                     20;74:3
   Huerta (1)                 30:2                 interesting (1)          jailer (2)                 lack (6)
      67:20                indicate (1)               58:14                    4:6;29:24                  34:25;37:2;47:6,7;
   human (2)                  61:1                 interview (1)            jailers (1)                   57:10;58:16
      19:16;21:19          indicated (7)              72:1                     28:22                   large (1)
   hurt (1)                   31:10,23;59:14;      interviews (1)           jails (8)                     41:12
      57:4                    61:2,20,22,23           71:22                    20:2,17;21:11;29:6,     larger (6)
   HVAC (3)                indicates (1)           into (19)                   7;51:25;53:2;54:25         10:17,19,20;23:24;
      42:20;43:8;45:11        59:7                    5:20;6:2,20;11:10;    jail's (2)                    26:20;62:3
                           indirectly (1)             15:1,23,24;20:3;         54:20;58:17             largest (2)
              I               62:1                    23:23;26:13;38:20;    January (1)                   14:7;45:19
                           individual (2)             42:6;44:24;49:1;         4:2                     last (8)
   ideal (1)                  46:10;66:6              53:16,20;57:24;       Jauston (1)                   23:17;40:6,7,17;
       43:13               indoor (1)                 65:25;71:11              67:20                      44:2;52:13;59:13;
   ideally (4)                39:4                 investigators (1)        jeweler (1)                   60:3
       12:5;14:15;15:12;   inevitable (1)             71:25                    6:15                    last- (1)
       16:11                  52:24                involved (4)             job (3)                       31:22
   ill (2)                 infirmary (1)              4:3;6:23;29:4;73:9       21:5,9,11               law (2)
       11:16;15:13            35:15                Iso (4)                  judges (1)                    4:4;22:14
   imagine (2)             ingenious (1)              12:12,13,13;13:14        23:2                    lay (2)
       47:9;49:19             71:16                isolate (1)              July (1)                      28:9,12
   immediate (2)           injured (4)                72:10                    40:7                    layout (1)
       43:20;59:1             14:21;17:16;57:3,9   isolated (1)             jumped (1)                    23:9
   immediately (1)         injuries (1)               11:12                    67:21                   leads (1)
       10:6                   53:21                Isolation (7)            Justice (2)                   71:15
   impacts (2)             injuring (1)               8:21;11:3,22;13:14,      60:10,15                leaking (1)
       56:23;58:17            65:9                    14,15;24:11           juveniles (1)                 46:16
   imperiled (1)           injury (2)              issue (2)                   69:3                    leaks (1)
       52:20                  53:9,12                 48:16;50:22                                         45:22
   important (2)           inmate (4)              issues (7)                           K              learn- (1)
       35:12,14               20:13;44:21;52:20;      7:5;25:4;43:7,8;                                    17:21
   improve (1)                72:4                    47:16;65:2,6          keep (7)                   leasing (1)
       36:20               inmates (9)             it-but (1)                 18:9;25:3;45:15;            21:16
   inability (4)              14:23;44:22;53:18;      31:11                   55:10;58:1;66:20;        least (6)

  Min-U-Script®                               SWIFT REPORTING SERVICE                                             (5) hit - least
                                             Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 83 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          490                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                         April 27, 2018

      26:16;38:22;39:23;       6:20;30:15;34:10;  massively (1)             4:7                     most (3)
      50:1;59:2;64:11          35:23;38:17,20,22;  62:3                   met (2)                    17:15,16;49:11
   led (1)                     40:16;62:16;72:5   materials (1)             59:10;60:12             mostly (1)
      5:5                   looked (1)             30:6                   metal (3)                  45:20
   Legal (1)                   22:11              math (1)                  71:2,3,3                move (4)
      3:7                   looking (8)            4:12                   meth (1)                   15:19;23:23;24:4;
   less (1)                    9:15;19:15;22:10;  mattress (5)              22:9                     57:24
      62:9                     23:9,17;32:5,18;    25:15,19,21,25;        MICHAEL (2)               moved (1)
   letter (1)                  52:12               68:10                    62:14;66:16              48:25
      72:21                 looks (3)             may (2)                 Michigan (1)              movement (3)
   letting (1)                 10:18;30:13;70:15   41:23;69:12              48:20                    40:24;42:1;48:9
      41:22                 loose (1)             maybe (2)               microphones (2)           moving (1)
   level (8)                   71:1                17:1;65:24               38:13,14                 24:15
      14:18;15:23;17:20,    lot (9)               meals (1)               middle (4)                much (4)
      20;22:5,15,21;42:2       16:20;22:6,8,12;    49:7                     6:18;10:9;28:14;         9:6;20:12;21:9;
   levels (2)                  28:6;41:10;46:3;   mean (7)                  37:6                     43:9
      22:20;35:10              65:16;66:18         5:25;6:16;29:10;       midnight (1)              multiple (1)
   lighting (2)             lots (2)               33:11;49:6;61:20;        27:3                     26:2
      47:16,16                 39:15;40:25         64:17                  might (5)                 Muncie (1)
   likelihood (1)           lower (1)             means (5)                 14:21;30:25;37:20;       50:12
      54:18                    17:19               6:1,17;49:7,19;52:3      62:7;66:12              murderer (1)
   likely (1)               lucky (1)             meant (1)               mill (1)                   17:23
      67:11                    23:19               29:5                     71:6
   limited (3)              lump (1)              measure (3)             mind (1)                            N
      42:1;52:14;53:17         32:25               9:21,23;48:5             22:2
   line (3)                                       measured (1)            minimum (1)               name (4)
      30:25;32:1;61:4                 M            10:18                    29:7                      3:9;51:5;67:3,5
   linear (5)                                     measurement (1)         mistake (2)               narcotic (1)
      5:23;6:3,12;38:4,8    machine (1)            48:6                     7:15,19                   66:12
   liner (1)                 64:18                measurements (1)        mistaken (1)              National (1)
      25:18                 Mackey (1)             44:15                    22:19                     30:6
   list (1)                  51:7                 mechanical (1)          mixer (2)                 nature (1)
      16:8                  maintenance (1)        74:7                     49:21,22                  52:23
   listed (4)                42:15                Medical (16)            mixers (1)                necessarily (2)
      30:19;32:12;33:8;     major (1)              15:18;25:4;50:10,        49:23                     64:2;67:9
      37:1                   45:11                 20,23;51:15,18;        modern (2)                necessary (2)
   listing (2)              majority (1)           52:10;56:11;62:18,       53:2;62:6                 32:11;73:6
      19:11,16               35:25                 21;64:8;65:16;66:19,   modular (1)               need (9)
   litigation (2)           makes (1)              20,21                    62:7                      11:11;12:9,9;18:9;
      5:2;8:8                25:4                 medication (5)          molesters (1)               31:17;38:24;62:2,9;
   little (5)               male (5)               65:22;66:11,14;          14:20                     69:25
      4:22;22:3;26:21;       20:1,1;21:13;69:2;    67:1,7                 money (6)                 needed (1)
      37:16;39:11            70:14                Medications (2)           32:25;33:2;34:3;          61:13
   Lloyd (1)                malleable (1)          65:19;66:5               42:19;45:15;46:18       needing (1)
      66:25                  23:12                medicine (1)            monitor (1)                 56:11
   locally (1)              many (17)              51:23                    53:3                    needs (4)
      22:23                  6:5;9:13,15;19:6;    meet (1)                monitoring (1)              59:20;60:18;62:7;
   lock (1)                  20:20;23:22;24:15;    23:1                     53:8                      64:7
      26:10                  28:20,21;29:4,14;    meetings (1)            Monroe (1)                negative (4)
   locked (3)                31:17,19;32:24;41:6,  44:1                     29:25                     18:3,5;54:19;72:16
      26:13;27:16;41:25      18;54:5              men (1)                 months (1)                negatively (2)
   log (1)                  Marion (1)             24:4                     72:22                     56:23;58:17
      16:5                   21:3                 mental (11)             more (28)                 negotiate (1)
   logs (1)                 mark (1)               41:24;50:10;51:1,2;      10:20;15:15;21:2;         52:2
      40:15                  17:25                 62:25;63:5,8;65:1,6,     22:6;26:5,21;30:15,     negotiations (1)
   long (8)                 marked (7)             17;66:1                  23;31:9,12,17;34:3,9,     73:9
      4:1;6:3;13:21;31:3,    4:14;8:6;19:4,10;    mentally (2)              13,17;37:16,19;         nevertheless (1)
      4,4;49:14;57:13        29:17;30:10;43:15     15:13;24:24              44:25;49:18;54:15;        24:18
   longer (1)               Marvel (4)            mention (1)               58:24;62:10;63:17,      new (27)
      23:22                  34:16;43:20;52:13;    71:8                     19;67:6,11;71:22;         5:9,11,14,20;6:9,13,
   long-term (1)             70:22                mentioned (1)             72:2                      14;8:15,19;9:10;
      12:3                  Marvel's (1)           47:25                  morning (2)                 10:17;28:4;46:19;
   look (10)                 4:9                  merit (1)                 19:20;68:21               55:4;59:15,21,24;

  Min-U-Script®                                SWIFT REPORTING SERVICE                                         (6) led - new
                                              Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 84 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          491                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                             April 27, 2018

     60:18;61:13;62:23;     Observations (1)            40:17                    37:7;40:10,21;           21:7;24:20,21,23;
     63:6;69:23,24;70:19;      37:7                   only (8)                   41:17;58:15;74:6         25:3;26:2;28:20;29:2;
     71:6,21;72:24          obviously (11)              30:20;36:15;38:5;      overused (1)               31:17,24;33:5,7;
   newer (4)                   10:2;14:16,18,24;        41:25;42:24;44:7,9;      47:3                     39:15;40:17,18;41:6;
     38:17;42:23,24;           15:20;37:16;45:24;       61:15                                             44:24;51:15,22;
     43:2                      46:24;54:8;56:3;       onto (1)                             P              53:16,24;54:6;55:4;
   next (5)                    60:16                    35:25                                             57:4;58:6,12,25,25;
     5:16;10:10;16:6;       occupied (2)              open (6)                 padded (1)                 63:9;65:25;66:18;
     28:2,3                    44:10;65:11              6:2;14:24;26:13,24;      7:20                     67:7;70:12;72:1
   night (1)                occur (3)                   27:18;58:13            Page (12)               per (5)
     51:11                     53:10;55:21;72:3       open- (1)                  32:10,12;35:8,23,        20:13;32:25;44:22;
   nightmare (1)            occurs (1)                  27:4                     25;36:8,9,25;37:5,12;    46:24;48:5
     58:3                      34:24                  operate (1)                62:17;73:3            percent (1)
   ninety-one (1)           o'clock (1)                 12:6                   Pages (1)                  37:24
     21:11                     19:19                  operated (3)               34:25                 perfect (2)
   non (1)                  October (1)                 70:9;73:20;74:4        paid (2)                   12:5,11
     52:7                      4:7                    operational (2)            49:11;71:5            period (2)
   Normally (2)             off (17)                    7:13;8:2               panels (1)                 50:5;63:15
     29:15;72:12               10:21,23;13:9,11;      operations (2)             71:9                  permanent (3)
   note (1)                    31:5,7;41:23;48:7;       4:10;35:13             paperwork (1)              11:1;12:1;25:10
     35:21                     61:16;62:11,13;        opinion (1)                31:21                 permitting (1)
   noted (3)                   67:12;70:5,7,10;         58:20                  paragraph (6)              39:24
     38:1,1;45:23              73:12,14               opioid (1)                 36:8;37:6,13;45:3;    perpetrator (1)
   notes (2)                offender (1)                22:10                    52:14,16                 17:9
     34:24;44:20               17:20                  opportunity (2)          paragraphs (1)          person (14)
   Notice (1)               offenders (1)               39:12,22                 35:24                    4:18,20;6:19;16:12,
     4:17                      17:21                  ordinance (1)            paramount (1)              12;17:2;44:16;51:2;
   noticeable (1)           offered (3)                 60:3                     58:19                    65:1,12,24;69:12;
     48:4                      41:4,4,8               original (2)             parent (1)                 71:23;72:11
   noticed (1)              office (8)                  44:8;71:4                17:22                 perspective (1)
     7:16                      4:2,5,9,18;5:15;       originally (3)           Parke (1)                  51:13
   November (1)                43:3;50:22;52:6          5:18;22:9;64:18          20:5                  phone (1)
     19:9                   officer-a (1)             otherwise (1)            part (12)                  20:19
   number (15)                 4:6                      3:23                     4:24;6:7;38:4;        physical (12)
     10:25;13:25;19:22;     officers (7)              out (32)                   39:10;42:12,24,25;       4:22;37:8,25;39:12;
     21:19;24:8;33:5,12;       29:1,4,8;32:2;70:6;      8:9;12:15;18:6,8;        43:2,12;46:7;47:18;      41:17;43:5;48:11;
     46:22,25;48:15,22;        73:3,4                   19:23;21:14,16;24:4;     63:6                     54:21;55:12;56:9;
     51:17;65:18,21;68:24   offices (1)                 26:7;40:18,18;42:2;    part- (2)                  57:1,13
   numbers (3)                 5:18                     43:25;48:20,25;          33:14;35:19           physically (3)
     11:1;53:15;61:3        Old (26)                    49:11,16;50:12;        particular (2)             9:12;24:24;38:12
   nurse (11)                  5:11,22;6:5,12;          56:17;58:25;61:3,5;      23:11;56:21           physicians (1)
     50:25;62:22,25;          8:15,18,20,22,23;9:6,     62:21;65:4,10;67:22,   particularly (2)           66:5
     63:13,14,16,17,20;        18;10:3;26:16;27:10,     22;70:23;71:8,11,16;     14:4;38:4             pie (1)
     64:6,13,19                21;39:10;42:13;          72:1                   parties (1)                6:18
   nurses (2)                  43:12;45:21;46:6;      outbid (1)                 73:19                 pieces (2)
     50:21,21                  47:17;48:1;56:21;        20:25                  parts (1)                  46:8;49:20
   nursing (1)                 64:14;71:20;72:24      outdoor (1)                38:9                  pills (1)
     25:5                   older (1)                   39:4                   part-time (3)              65:18
                               42:25                  outdoors (1)               30:25;32:22,24        place (7)
             O              onboard (1)                 39:24                  patching (1)               15:10;45:15;49:9;
                               70:12                  outside (7)                45:22                    51:23;55:2;58:20;
   oath (2)                 once (2)                    10:6;19:1;27:7;        patrol (1)                 72:5
     3:2,19                    22:21;67:6               39:10,22;59:1;68:24      35:12                 places (1)
   objected (1)             one (28)                  over (15)                patterns (1)               21:6
     73:17                     10:2;14:1;16:25;         9:10;18:18,19;           37:9                  placing (1)
   objecting (1)               20:9;23:15;25:15;        21:21;28:17,24;        pay (2)                    20:2
     73:24                     30:24;35:24;44:1,7,      29:10;43:7;44:25;        21:2,3                Plaintiffs (1)
   objection (1)               16,17;45:5,19;48:15;     46:24;59:8;63:14;      paying (1)                 62:15
     74:8                      49:22,23;50:7;51:11;     70:16;71:7,23            20:12                 Plaintiffs' (1)
   observance (2)              62:25;63:13,14,17;     overcrowded (4)          people (47)                3:8
     12:17,17                  66:25;69:12;71:22;       13:21;14:4;44:12;        6:7;11:7;12:10;       plan (4)
   observation (3)             72:21;74:14              73:8                     14:8,21,21;15:13,20;     57:22;58:7,8,10
     12:20,22;65:5          ones (1)                  overcrowding (6)           16:5,7,8,22;17:4;     plastic (2)

  Min-U-Script®                                SWIFT REPORTING SERVICE                                       (7) newer - plastic
                                              Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 85 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          492                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                               April 27, 2018

     25:18,24                  9:6;21:9;61:9             31:16                    35:23;36:1;67:13,17     rely (1)
   please (4)                prior (3)                 propose (1)              ready (1)                   7:7
     3:9,22;22:4;62:17         4:3;19:12;40:5            60:9                     8:3                     remedy (1)
   plug (1)                  prison (1)                proposed (1)             real (1)                    59:14
     24:8                      22:23                     60:3                     17:4                    remember (9)
   plumber (2)               prisoner (10)             prosecutor (2)           realize (1)                 20:11;31:11;44:3,4;
     45:21;46:6                15:1;40:24;46:24;         16:16;23:3               12:6                      48:23;67:3,3,4,5
   plumbing (4)                47:21;53:12;54:18;      protective (2)           really (5)                renovation (1)
     43:8;45:20;46:2;          55:16,17;56:16,23         14:19;24:7               17:16;22:10;43:10;        58:11
     48:15                   prisoners (48)            provided (1)               63:24;64:7              repeatedly (1)
   plus (2)                    17:14;18:13,14;           50:10                  reason (1)                  31:12
     37:24;60:6                19:1,22;20:2;21:13,     provider (2)               14:7                    report (15)
   plywood (1)                 15;22:15;23:11;           62:19,21               reasons (1)                 7:9,12;19:7,8;32:5,
     70:16                     24:15;25:8;28:8;        proximity (1)              17:17                     6;34:7,10,24;36:5,8,
   pod (2)                     29:10;39:18,21;40:8;      68:15                  rec (2)                     25;59:6;60:22;61:3
     6:15;25:1                 41:1,18;42:6,9;45:23,   psychologists (1)          40:8;41:22              reporting (1)
   pods (1)                    25;46:25;47:8,10;         63:7                   recall (1)                  56:4
     6:20                      48:22;49:14,15;         public (2)                 48:6                    reports (3)
   population (13)             50:15;51:17;52:23,        44:1;71:25             recent (1)                  19:19;46:22;55:10
     18:18;19:7,8,19;          25;53:3,20;54:11;       punch (1)                  45:4                    represent (3)
     21:15;22:7;23:4;25:7;     55:5,8,14;56:1,10,18;     36:15                  recognize (1)               19:5,11;61:21
     35:4;51:14;53:13;         57:2,3,9,17,21;58:18    punches (1)                4:14                    representative (2)
     54:20;59:6              private (4)                 52:6                   recommended (1)             60:1;61:19
   population-wise (1)         39:20;48:18;58:23;      put (15)                   60:5                    request (4)
     22:13                     71:22                     11:11;12:9;14:8;       recommending (1)            34:19;36:2;50:20;
   position (2)              probably (23)               15:1;28:14;40:2;         73:4                      52:10
     29:23;63:2                6:3;22:11;23:14;          46:18;58:6;65:3,4;     reconcile (1)             requested (1)
   positions (4)               26:6;33:4,8,14,18;        66:19;70:20;71:6,10;     33:12                     30:23
     32:20,24;33:17,18         34:9;47:23;48:9;          72:13                  record (10)               requests (1)
   possible (1)                49:18,22;51:23;52:8;                               10:21,23;13:9,11;         64:8
     62:5                      58:19;62:20;63:18,                Q                31:5,7;62:12,13;        require (1)
   possibly (1)                19,25;65:14;71:2;                                  73:12,14                  65:18
     14:11                     72:15                   QCC (1)                  recreating (1)            required (1)
   potentially (2)           probation (1)               51:3                     41:10                     69:3
     47:13,15                  23:3                    Quality (3)              recreation (12)           requirements (1)
   precipitate (1)           problem (15)                50:12;51:3;63:6          6:11;39:4,17,22;          70:12
     65:8                      23:24;33:19;34:24;      quick (1)                  40:15;41:4,6,19;42:4,   reserved (2)
   predecessor (2)             36:11,22,24;39:2;         17:5                     6,10;59:1                 20:17;23:10
     43:18,21                  40:12,13;42:15;         quickliness (1)          rectified (1)             resident (1)
   preexisting (4)             47:20;49:13;50:8;         51:21                    37:19                     43:17
     66:1,7,14,18              54:23;56:10             quickly (1)              redo (1)                  resolution- (1)
   prefer (1)                problems (27)               51:18                    49:9                      73:11
     68:9                      37:14,17,18,21;         quite (4)                reduce (1)                resource (1)
   preliminary (2)             41:21;42:23;43:5;         16:21;20:4;44:22;        42:2                      35:11
     60:21;61:2                45:18,19;46:16;           62:5                   refer (1)                 respond (1)
   prepared (2)                48:11;49:3;53:9;                                   5:20                      56:20
     48:18;62:18               54:15;55:1,20;57:11,              R              referring (1)             response (4)
   preparing (1)               13;65:17,17;66:1,19;                               44:23                     10:5;11:8;36:10;
     30:20                     70:18,19;72:9,19;       rarely (1)               regard (2)                  45:6
   prescribed (1)              74:7                      40:19                    73:10,20                responsible (1)
     66:6                    produce (1)               rate (1)                 regarding (1)               28:21
   prescriptions (3)           49:8                      6:23                     22:14                   restraining (2)
     66:11,15,21             product (1)               rather (1)               regular (5)                 65:3,10
   Present (1)                 40:21                     41:12                    41:19;51:5;65:19,       result (2)
     63:1                    project (1)               raw (1)                    20;66:22                  22:12;51:14
   presently (1)               61:17                     53:15                  regularly (1)             retro (1)
     35:11                   prompt (1)                Ray (5)                    40:9                      46:7
   pressure (4)                56:11                     60:10,25;61:1,10,      rehabbed (1)              revealed (1)
     21:15,18;23:6;          proper (1)                  22                       59:18                     35:10
     72:17                     17:18                   reached (1)              relative (2)              review (1)
   pressures (2)             properly (2)                73:19                    17:8;42:25                50:22
     25:8;60:17                17:14;71:17             read (7)                 relieving (1)             reviewed (2)
   pretty (3)                proposal (1)                28:10;30:16;32:6;        60:17                     50:17;52:9

  Min-U-Script®                                SWIFT REPORTING SERVICE                                       (8) please - reviewed
                                              Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 86 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          493                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                              April 27, 2018

   rewrote (1)                46:4                  Sheriff's (2)             sizes (2)                     21:24;72:14
      22:19                screws (2)                  4:5;20:18                 9:4,20                  spending (1)
   right (27)                 71:1,8                shift (1)                 sleep (6)                     45:14
      4:12;5:16;7:24;      scrupulously (1)            32:2                      27:10,11,12;28:4;       spent (1)
      10:3;11:24,24;12:18;    33:24                 shifts (1)                   68:5,9                     46:18
      15:4,20;16:9;28:2;   searches (1)                28:24                  sleeping (4)               spoke (2)
      29:12;33:11;34:22;      35:14                 short (4)                    47:11,11;67:25;            47:24;59:13
      36:18,20;43:18;      second (4)                  33:23;36:21;37:6;         68:13                   spread (1)
      44:18;48:24;49:3;       10:22;13:10;31:6;        40:14                  slide (1)                     51:22
      52:9;61:18;64:3,4;      52:13                 shortest (1)                 68:8                    staff (44)
      70:7;73:13;74:4      section (2)                 9:9                    slip (1)                      18:13;25:5;28:20;
   rise (1)                   70:19;71:20           short-term (1)               57:17                      29:13,20;30:5,16,23,
      53:16                secure (1)                  11:14                  small (6)                     25;31:12,24;32:13;
   risk (2)                   58:21                 show (1)                     9:24;10:14;26:17;          34:9,14,17,25;35:11,
      17:13;53:12          security (4)                19:9                      39:9;54:6;58:7             14,18;36:16,18,21;
   risks (1)                  35:13;47:20;52:20;    shower (8)                smaller (1)                   37:19;38:2,3;39:2;
      35:2                    71:1                     10:10,11;26:18,20;        69:7                       41:1,17;50:17;52:19,
   RJS (1)                 seeing (2)                  27:7;47:3,7,7          smoke (1)                     19;53:18;54:9,12,19,
      60:10                   21:25;60:17           showers (1)                  58:2                       23;55:8,14;56:19,20;
   rolls (1)               seems (1)                   46:23                  Sol (2)                       57:22;58:16;62:9;
      54:8                    22:5                  showing (6)                  13:14,14                   66:20
   roof (3)                segregated (1)              4:13;8:6;19:4;         Solitary (8)               staffing (13)
      22:8;46:16,19           15:10                    29:17;30:9;43:15          8:21;11:3,19,19;           30:13;32:11,11;
   room (13)               segregation (5)          shrink (1)                   12:23,23;24:11,11          35:3,9;36:22;37:3,9;
      6:17;10:4;11:10;        11:21;14:25;15:2,7,      23:24                  solved (1)                    40:9,14,22;62:7;63:1
      14:8;26:15,21;27:7,     8                     shut (3)                     37:21                   standards (1)
      21,22;28:15;39:11;   sent (2)                    24:1;27:1;58:1         somebody (6)                  62:6
      41:25;64:18             21:14,20              sick (1)                     14:11;17:1,15;64:6;     standpoint (2)
   rooms (2)               separate (2)                11:7                      67:21;68:16                42:16;47:21
      6:11;35:15              11:9;69:6             side (34)                 somehow (3)                start (1)
   round (1)               separation (1)              5:9,11,11,21,22;6:5,      50:20;56:16,17             57:23
      10:9                    70:13                    9,12,13,14;8:15,16,    someone (4)                started (3)
   routine (2)             separtee (2)                18,20,20,22,23;9:6,       7:4;11:14;13:16;           4:5;22:1;73:16
      24:13;35:13             16:15;17:7               10,18;10:3,17;26:16,      15:17                   starting (1)
   row (1)                 separtees (3)               20;27:10;28:4;38:17;   someone's (1)                 43:1
      6:2                     16:1,7,22                45:21;46:6;48:1;          21:5                    State (8)
   rudimentary (2)         sergeants (1)               56:21;69:23,24;71:7    sometimes (21)                3:9;7:2;21:12;23:1;
      24:19;25:6              32:3                  side/old (1)                 16:15;17:7;18:18;          30:2;45:8,8;46:20
   run (2)                 seriously (1)               5:9                       20:22;24:3,3;26:5;      statement (4)
      26:7;58:21              11:16                 sides (1)                    27:23;41:5;45:23,25;       43:16,18;52:13;
   running (3)             service (1)                 53:18                     50:5;51:14;53:23;          68:7
      45:15;47:6,7            49:21                 sight (1)                    54:2,5,11;59:10;65:3;   states (1)
                           Services (5)                70:13                     68:4,8                     3:5
              S               48:20;49:25;52:1,3;   signature (1)             Somewhere (4)              station (2)
                              60:10                    74:13                     15:15;30:22;33:20;         50:21;63:16
   safe (3)                set (1)                  similar (1)                  63:22                   status (1)
     18:10,12;58:21           8:9                      42:23                  Sorry (1)                     16:15
   safety (2)              settlement (2)           single (2)                   71:14                   stay (2)
     52:20;56:24              39:20;58:23              14:10;45:22            sort (8)                      22:23,24
   SAITH (1)               setup (1)                sink (1)                     11:23;20:19;21:5;       steady (1)
     74:18                    62:7                     46:13                     34:11;55:6,13,16;          45:8
   sallyport (2)           seven (1)                sit (1)                      56:15                   steam (1)
     57:25;58:7               12:1                     70:25                  sound (1)                     41:23
   same (8)                several (1)              sits (1)                     70:13                   steel (2)
     8:4;12:18;15:17;         21:24                    6:19                   source (1)                    57:25;71:6
     24:7;36:7;43:1;64:21; sheet (3)                situation (6)                47:8                    step (1)
     74:8                     9:11;71:2,2              21:1;53:19;56:13,      space (9)                     57:4
   saw (2)                 SHERIFF (13)                15;59:17;61:14            5:19;10:14;26:17;       still (21)
     59:14;61:13              3:1,11;4:1,8,8,11,    six (6)                      28:3;53:17;54:6;           8:12;33:23;35:6,16,
   saying (4)                 18;34:16,17;65:12;       10:1;24:1;33:3,6,         64:17;71:21;72:7           21;36:3,4,5,7,11,22,
     7:15;46:1;58:10;         70:22;73:16;74:21        17,18                  specific (2)                  24;37:1,9,11,13;
     63:4                  Sheriffs (1)             size (2)                     31:9;67:5                  38:24;40:12,13;
   scenes (1)                 30:3                     9:18;29:15             speculate (2)                 59:20;63:13

  Min-U-Script®                               SWIFT REPORTING SERVICE                                          (9) rewrote - still
                                             Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 87 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          494                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                            April 27, 2018

   stipulation (1)             9:23;58:8;62:11,15;      25:24                 transport (1)
      73:19                    73:15,22;74:2,9       third (3)                   29:1                             U
   storage (1)               sworn (1)                  6:10;40:6;45:3        transportation (1)
      7:21                     3:2                   Thirty-five (1)             20:14                 unconstitutional (2)
   strain (1)                system (7)                 20:13                 transporting (1)           73:21;74:5
      66:19                    13:15;36:13;50:14;    Thomas (2)                  44:23                 under (3)
   Streeter (1)                56:22;60:15;69:19;       3:10;67:1             treated (1)                3:19;68:8;70:21
      62:23                    70:21                 though (5)                  66:4                  underneath (1)
   strong (1)                systems (3)                20:11;43:12;62:22;    triaging (1)               28:2
      47:17                    42:20;45:12;53:3         64:7;66:17               51:15                 understaffing (1)
   structural (2)                                    thought (1)              tried (3)                  74:6
      45:11;70:18                      T                61:22                    36:20;40:13;49:20     undoubtedly (1)
   structure (11)                                    three (13)               trigger (1)                55:20
      4:23;26:9;37:8,25;     table (2)                  10:11;12:12;26:17;       58:1                  Unhuh (4)
      41:17;43:5;48:12;         10:9;37:1               28:24;35:24;39:23;    true (8)                   10:5;11:8;36:10;
      54:21;55:22;57:1;      tables (9)                 40:8;49:8;51:25;         36:3,4,6;53:1,5;        45:6
      59:18                     10:7,8,12,14,20;        58:19;59:2,5;63:18       62:6;63:24;66:3       uniform (1)
   study (1)                    26:17;28:2,2,3       throughout (1)           truth (3)                  9:18
      60:10                  talk (6)                   51:22                    3:3,3,4               unit (4)
   stuff (6)                    4:22;14:12;30:9;     tight (2)                try (11)                   11:9;46:11,14,15
      7:21;31:10;42:3;          37:16;69:24;72:4        49:9,17                  17:19;21:6;23:3;      units (2)
      43:8;46:3;49:23        talked (6)              tiles (2)                   24:18,19,23;25:2;       46:13;69:8
   submitted (1)                42:18,18,19;54:16;      49:10;70:24              27:12;28:14;45:15;    unless (2)
      31:20                     60:24,25             timeliness (1)              69:7                    52:7;56:7
   substitute (1)            talking (4)                51:21                 trying (5)               up (19)
      66:13                     10:25;33:7;56:9;     times (7)                   20:25;25:6;33:11;       6:2;11:1,3;19:12;
   subversive (1)               59:23                   25:8;41:9;47:10;         70:23;73:10             33:2,17;44:18;49:10,
      43:16                  talks (2)                  49:8,25;53:4,21       tuberculosis (2)           16;56:2;66:20;69:9,
   suffer (1)                   35:1;45:3            today (4)                   72:18,19                12,18;70:21,22;71:4,
      53:21                  task (1)                   23:16;25:1;30:22;     turn (2)                   11,15
   sufficient (1)               17:2                    35:18                    70:5,7                upon (3)
      35:11                  taxed (1)               together (5)             turned (4)                 3:2;58:23;71:19
   suicide (1)                  47:5                    16:24;17:4;24:25;        5:20;11:10;48:25;     urinal (1)
      11:23                  technical (1)              25:4;53:25               70:10                   68:15
   Sullivan (1)                 71:13                together' (1)            turnover (2)             use (5)
      20:5                   television (2)             16:18                    54:23;55:1              7:21;23:21;49:18;
   summary (1)                  10:10,11             toilet (5)               TV (2)                     66:13;68:16
      35:8                   temporary (1)              27:8,20;46:14;47:6,      26:17,20              used (4)
   summer (1)                   19:22                   7                     twenty (5)                 7:22;8:3;14:1;39:7
      59:13                  ten (4)                 toilets (7)                 26:5;61:6,7,8,9       using (2)
   supervise (3)                16:8;26:5;61:22;        27:6;46:5,8,10,13,    twenty- (1)                24:10,12
      54:3;55:23;62:9           62:2                    23;47:14                 23:25                 Usually (1)
   supervisor (1)            tension (1)             told (3)                 twenty-five (1)            68:22
      32:2                      47:8                    26:8;46:6;70:4           61:5                  utensils (1)
   supplemented (1)          tensions (1)            took (1)                 twenty-four (6)            49:18
      63:11                     53:16                   4:2                      50:23,25;63:14,15,
   supplied (1)              term (1)                top (5)                     16,21                            V
      30:6                      8:2                     36:9;48:7;67:12,22;   two (12)
   suppose (3)               terms (4)                  70:25                    6:8,10;9:5;10:8;      vacated (1)
      17:23;21:24;58:12         7:24;33:2,11;44:5    tornado (1)                 11:6;29:7,16;32:18;     5:19
   supposed (6)              testify (1)                57:20                    44:17;49:23;51:3;     varies (1)
      46:23;50:2;58:12;         4:19                 total (3)                   72:15                   68:24
      66:10,13;72:16         testimony (1)              32:12;33:5,12         two-and-a-half (1)       various (3)
   sure (13)                    17:24                tough (1)                   69:13                   8:9;19:12;74:6
      7:9;8:17;16:11;        that- (1)                  45:16                 type (5)                 vending (2)
      17:24,24;39:1;44:22;      7:17                 toured (2)                  6:15;15:1;18:1;         11:10;64:18
      48:14;51:17;55:25;     the- (3)                   8:25;70:11               25:3;41:24            versa (1)
      57:12,15;61:9             6:6;24:2;38:10       toward (1)               Typically (1)              24:6
   surely (1)                there' (1)                 54:11                    17:4                  vice (1)
      65:22                     20:20                towards (1)              typo (1)                   24:6
   suspect (1)               therefore (3)              16:23                    33:25                 vicious (1)
      34:16                     53:8;54:18;55:4      towels (1)                                          55:6
   SUTHERLIN (8)             thin (1)                   71:10                                          victim (1)

  Min-U-Script®                                 SWIFT REPORTING SERVICE                                (10) stipulation - victim
                                               Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 88 of 142 PageID #:
  JAUSTON HUERTA, et al. vs          495                       GREGORY T. EWING, Sheriff
  GREG EWING, et al.                                                                                        April 27, 2018

      17:8                weekly (1)                                          5:2,11,14              22:15,21;33:14
   video (7)                64:12                           Y              2003 (1)                65.5 (1)
      12:20,22;13:1,15;   welfare (4)                                         4:8                    34:1
      53:3;56:8;69:19       36:9,12,16,19         year (10)                2011  (1)               66.5 (5)
   view (2)               wellness (1)               4:9;23:17;31:14;         4:2                    32:16;33:13,25;
      8:3;38:9              41:24                    34:6,13;40:7,17;44:2, 2013 (2)                  34:1,4
   Vigo (6)               wet (4)                    2;60:4                   62:19;63:1
      3:11;20:3;21:20;      45:24;46:1;47:12;     years (10)               2014  (1)                         7
      35:10;43:17;60:16     57:16                    4:11;16:4;30:22;         18:22
   vigorous (1)           what-have-you (1)          42:12;59:23;61:5,6,8, 2015 (2)                7 (2)
      39:12                 45:24                    22;62:2                  30:14,21                27:5;35:23
   violence (4)           what's (3)              yesterday (1)            2016 (1)                7:30 (1)
      16:23,25;53:9;56:9    38:5,6,18                30:11                    73:10                   68:23
   violent (2)            whenever (1)            you-I (1)                22 (2)                  78 (3)
      24:21;54:19           66:22                    31:10                    23:25;73:5              44:22,24,25
   Virgil (1)             Where's (1)             your- (1)                23 (1)
      51:7                  13:7                     73:23                    36:25                          8
   visits (1)             wherever (1)                                     24th (1)
      63:23                 48:14                             1               19:9                 8 (3)
   visual (1)             Whipker (5)                                      26 (1)                     19:19;35:25;68:23
      12:17                 7:1;8:3;14:1;46:21;   1 (15)                      37:5                 80% (7)
   vs (2)                   47:24                    8:20,21,21;11:6,19,   260 (2)                    13:24;14:4;17:25;
      5:3;6:22            whole (5)                  22;12:13,23;13:13,14,    11:4;24:16              18:8,19,22;44:25
                            3:3;6:6;41:5,7,8         14;24:10,11,12;52:7   267  (4)                83 (2)
             W            wider (1)               10 (2)                      7:12,25;8:1;18:19       44:9;48:24
                            6:4                      34:25;36:8            267-268 (1)
   wait (1)               willing (2)             100 (1)                     49:2                           9
     52:5                   21:2;56:18               37:24                 268  (7)
   waived (1)             Wilson (6)              100% (2)                    6:24;7:15,25;40:2;   91 (1)
     69:3                   29:21;32:16;33:12;       13:21;38:9               58:6,24;59:7           22:1
   wall (1)                 35:1,8;38:1           1006 (1)                 27 (1)
     22:23                windows (1)                22:18                    37:12
   walls (1)                70:15                 11 (1)
     46:4                 winter (1)                 35:1                              3
   wanna-be (1)             72:22                 133 (2)
     6:14                 with-' (1)                 44:11;48:25           3 (5)
   wants (1)                17:5                  144 (1)                     8:21;11:22;12:13;
     72:4                 without (4)                30:19                    13:15;24:12
   was- (1)                 18:7;53:8;68:10,14    17 (4)
     24:6                 WITNESS (3)                32:10,13;62:17;                   4
   watch (2)                3:20,25;36:2             73:3
     11:23;24:25          wonderful (1)           1980 (2)                 4 (1)
   watched (1)              19:6                     4:24;5:11                23:9
     15:15                word (1)                1982 (3)                 40 (1)
   water (1)                57:7                     44:8;48:23;64:16         32:13
     68:17                work (2)                1991 (2)                 42 (2)
   waves (1)                55:2;71:1                4:6;23:18                23:17;73:5
     56:4                 worked (1)              1992 (1)                 45 (4)
   way (17)                 17:1                     4:7                      23:17;32:20;33:13,
     6:21;7:18;9:14;      workers (1)             1st (2)                     20
     21:13;26:9;38:5;       23:2                     4:2;19:9
     46:24;56:6;59:19;    works (1)                                                     5
     61:3;64:20;68:16;      30:2                            2
     70:9,23;71:16;72:10, world (2)                                        50 (1)
     16                     12:5,11               2 (15)                      68:25
   ways (1)               worst (1)                  8:20,21,21;11:6,19,   500  (1)
     23:4                   58:3                     22;12:13,23;13:13,14,    60:6
   wearing (1)            wound (1)                  14;24:11,11,12;35:8 51 (2)
     43:4                   71:4                  20 (1)                      33:7,20
   weather (1)            wrong (4)                  68:24
     39:24                  15:5,22;67:1,7        20% (1)                               6
   week (4)                                          59:8
     39:23;40:9;59:2,5                            2000 (3)                 6 (3)

  Min-U-Script®                              SWIFT REPORTING SERVICE                                        (11) video - 91
                                            Donna Moss Swift, Reporter/Notary
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 89 of 142 PageID #:
                                     496
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 90 of 142 PageID #:
                                     497
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 91 of 142 PageID #:
                                     498
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 92 of 142 PageID #:
                                     499
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 93 of 142 PageID #:
                                     500
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 94 of 142 PageID #:
                                     501
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 95 of 142 PageID #:
                                     502
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 96 of 142 PageID #:
                                     503
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 97 of 142 PageID #:
                                     504
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 98 of 142 PageID #:
                                     505
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 99 of 142 PageID #:
                                     506
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 100 of 142 PageID #:
                                     507
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 101 of 142 PageID #:
                                     508
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 102 of 142 PageID #:
                                     509
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 103 of 142 PageID #:
                                     510
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 104 of 142 PageID #:
                                     511
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 105 of 142 PageID #:
                                     512
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 106 of 142 PageID #:
                                     513
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 107 of 142 PageID #:
                                     514
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 108 of 142 PageID #:
                                     515
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 109 of 142 PageID #:
                                     516
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 110 of 142 PageID #:
                                     517
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 111 of 142 PageID #:
                                     518
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 112 of 142 PageID #:
                                     519
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 113 of 142 PageID #:
                                     520
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 114 of 142 PageID #:
                                     521
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 115 of 142 PageID #:
                                     522
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 116 of 142 PageID #:
                                     523
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 117 of 142 PageID #:
                                     524
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 118 of 142 PageID #:
                                     525
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 119 of 142 PageID #:
                                     526
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 120 of 142 PageID #:
                                     527
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 121 of 142 PageID #:
                                     528
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 122 of 142 PageID #:
                                     529
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 123 of 142 PageID #:
                                     530
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 124 of 142 PageID #:
                                     531
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 125 of 142 PageID #:
                                     532
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 126 of 142 PageID #:
                                     533
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 127 of 142 PageID #:
                                     534
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 128 of 142 PageID #:
                                     535
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 129 of 142 PageID #:
                                     536
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 130 of 142 PageID #:
                                     537
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 131 of 142 PageID #:
                                     538
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 132 of 142 PageID #:
                                     539
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 133 of 142 PageID #:
                                     540
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 134 of 142 PageID #:
                                     541
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 135 of 142 PageID #:
                                     542
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 136 of 142 PageID #:
                                     543
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 137 of 142 PageID #:
                                     544
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 138 of 142 PageID #:
                                     545
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 139 of 142 PageID #:
                                     546
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 140 of 142 PageID #:
                                     547
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 141 of 142 PageID #:
                                     548
Case 2:16-cv-00397-JMS-MJD Document 118-1 Filed 06/22/18 Page 142 of 142 PageID #:
                                     549
